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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

PRESIDENT DONALD J. TRUMP, an
individual,

                   Plaintiff,

       v.                                                               24-449
                                                              Case No. ______________

J. ANN SELZER, SELZER & COMPANY,                       DEFENDANT GANNETT CO., INC.’S
DES MOINES REGISTER AND TRIBUNE                            NOTICE OF REMOVAL
COMPANY, and GANNETT CO., INC.,

                   Defendants.



       Defendant Gannett Co., Inc. (“Gannett”) hereby removes the above-captioned civil action

from the Iowa District Court in and for Polk County, Case No. CVCV068364 (“State Court

Action”), to the United States District Court for the Southern District of Iowa, Central Division,

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446; Fed. R. Civ. P. 81; and L.R. 81.

       As grounds for removal, Gannett states:

       1.      Plaintiff President Donald J. Trump, an individual (“President Trump”) filed his

Petition on December 16, 2024, in the Iowa District Court for Polk County. In the State Court

Action, President Trump generally alleges that Gannett and co-defendants J. Ann Selzer

(“Selzer”), Selzer & Company (“S&C”), and Des Moines Register and Tribune Company (“The

Register”) violated the Iowa Consumer Protection Act and the Iowa Private Right of Action for

Consumer Frauds Act as codified Iowa Code § 714H, et seq. (Petition, ¶¶ 53–71.)

       2.      Defendant Gannett has reviewed the docket in the State Court Action and

determined that the following pleadings have been filed: (a) a Petition; (b) an Original Notice;

and (c) a second, substantially identical copy of the Petition. Pursuant to L.R. 81(a), copies of all



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filings in the State Court Action are attached to this Notice of Removal as Exhibit A and by this

reference are incorporated herein.

        3.      This Court has original jurisdiction of this action under 28 U.S.C. § 1332(a), and

this action may be removed under 28 U.S.C. § 1441. As required by Local Rule 81(a)(4),

Gannett states that for purposes of removal of this action from state court and as more fully set

forth below, this is an action where the amount in controversy for Plaintiff’s claims exceeds the

sum of $75,000, exclusive of interest and costs, and is between citizens of different states.

        4.      There is complete diversity of citizenship between the parties.

        5.      The Petition alleges that President Trump is a citizen of Florida. (Petition ¶ 15.)

President Trump is therefore a citizen of Florida for the purposes of diversity jurisdiction.

        6.      The Petition alleges that Selzer is a natural person and a citizen of Iowa. (Id. ¶

16.) Selzer is therefore a citizen of Iowa for the purposes of diversity jurisdiction.

        7.      The Petition alleges that S&C is a domestic corporation that does business in

Iowa. (Id. ¶ 17.) Upon information and belief, S&C is an Iowa corporation with a principal place

of business in West Des Moines, Iowa. S&C is therefore a citizen of Iowa for the purposes of

diversity jurisdiction.

        8.      The Register is an Iowa corporation with a principal place of business in New

York. (Id. ¶ 18.) The Register is therefore a citizen of Iowa and New York for the purposes of

diversity jurisdiction.

        9.      Gannett is a Delaware corporation with a principal place of business in New

York. (Id. ¶ 19.) Gannett is therefore a citizen of Delaware and New York for the purposes of

diversity jurisdiction.




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       10.     President Trump seeks a wide array of damages, including actual damages,

statutory treble damages, and injunctive relief that would have a significant impact on Gannett

and The Register’s operations. The combined value of the claimed damages in this case would

exceed $75,000, exclusive of costs and interest.

       11.     In diversity cases, there is an additional limitation on removal, known as the

forum-defendant rule, which provides that:

       [a] civil action otherwise removable solely on the basis of the jurisdiction under
       [28 U.S.C. § 1332(a)] may not be removed if any of the parties in interest
       properly joined and served as defendants is a citizen of the State in which such
       action is brought.

§ 1441(b)(2) (emphasis added).

       12.     The forum-defendant rule, however, does not prohibit a defendant from removing

a case where the forum defendants have not yet been served. Id.; see also Tex. Brine Co., LLC,

955 F.3d 482 (5th Cir. 2020); Gibbons v. Bristol-Myers Squibb Co., 919 F.3d 699 (2d Cir. 2019);

Encompass Ins. Co. v. Stone Mansion Rest. Inc., 902 F.3d 147 (3d Cir. 2018); McCall v. Scott,

239 F.3d 808, 813 n.2 (6th Cir. 2001); M & B Oil, Inc. v. Federated Mut. Ins. Co., No. 21-3817,

2023 WL 3163326, at *3 (8th Cir. May 1, 2023) (noting that Eighth Circuit has “yet to weigh in

on the question,” but recognizing that “many courts have held that the forum-defendant rule does

not apply” if the action is removed prior to service). Removal in this manner is typically referred

to as “snap removal.”

       13.     This Court has not directly addressed snap removal; however, consistent with the

cases cited above, this Notice of Removal is proper under the § 1441. Further, this case is

distinguishable from other cases within the Eighth Circuit and in the Northern District of Iowa.

Cf. M & B Oil, 2023 WL 3163326, at *2 (recognizing that “[s]nap removal has nothing to do

with the complete-diversity requirement.”); Spreitzer Properties, LLC v. Travelers Corp., No.



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21-CV-00106, 2022 WL 1137091 (N.D. Iowa Apr. 18, 2022) (remanding a snap removal case

because the parties lacked complete diversity). Here, there is complete diversity between the

parties as set forth above.

       14.      On information and belief, as of the time of this filing, none of Selzer, S&C,

and/or The Register have been served.

       15.      Thus, because complete diversity of the parties exists and the amount in

controversy exceeds $75,000, this Court has original jurisdiction over the action under 28 U.S.C.

§ 1332(a) diversity jurisdiction. See Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303 (2006).

This action is properly removable to this Court pursuant to § 1441(a).

       16.      Based upon the allegations in Plaintiff’s Petition, the proper venue for removal of

this action is to the United States District Court for the Southern District of Iowa, Central

Division, because it is the “district and division embracing the place where such action is

pending.” See 28 U.S.C. § 1441(a).

       17.      In accordance with 28 U.S.C. § 1446(d), a copy of this Notice of Removal is

being filed with the Clerk of the Iowa District Court for Polk County and is being served on all

adverse parties.

       18.      Pursuant to L.R. 81(a), there are currently no motions pending in the state court

that will require resolution by this Court.

       19.      Pursuant to L.R. 81(c), Defendants will file a disclosure statement in compliance

with L.R. 7.1(d) within 21 days of filing this Notice of Removal, or at any other such time the

Court orders.




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        20.    Undersigned counsel further certifies that in accordance with 28 U.S.C.

§ 1446(d), concurrent with the filing and service of this Notice of Removal, notice is being

served upon counsel for President Trump, by electronic mail.

        12.    By removing this action from the Iowa District Court for Polk County, Iowa, to

this Court, Defendants do not waive and specifically reserve any and all defenses available to

them.

        13.    By removing this action from the Iowa District Court for Polk County, Iowa, to

this Court, Defendants do not admit any of the allegations in the Petition.

        WHEREFORE, Defendant Gannett Co., Inc. hereby gives notice that the above-entitled

action is removed from the Iowa District Court in and for Polk County.

     Dated: December 17, 2023                        FAEGRE DRINKER BIDDLE & REATH LLP

                                                     /s/ Nicholas Klinefeldt_______
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                                                     ATTORNEYS FOR DEFENDANT GANNETT CO.,
                                                     INC.




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                                    Certificate of Service

       The undersigned certifies that a true copy of Defendant Gannett Co., Inc.’s Notice of
Removal was served upon all parties of record through the court’s CM/ECF electronic filing
system with copies to the below named individuals by electronic mail on December 17, 2024.

                                                  /s/ Paulette Ohnemus

Copy to:

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